Case 3:07-cr-00064-GMG-RWT Document 94 Filed 11/29/12 Page 1 of 7 PageID #: 231
Case 3:07-cr-00064-GMG-RWT Document 94 Filed 11/29/12 Page 2 of 7 PageID #: 232
Case 3:07-cr-00064-GMG-RWT Document 94 Filed 11/29/12 Page 3 of 7 PageID #: 233
Case 3:07-cr-00064-GMG-RWT Document 94 Filed 11/29/12 Page 4 of 7 PageID #: 234
Case 3:07-cr-00064-GMG-RWT Document 94 Filed 11/29/12 Page 5 of 7 PageID #: 235
Case 3:07-cr-00064-GMG-RWT Document 94 Filed 11/29/12 Page 6 of 7 PageID #: 236
Case 3:07-cr-00064-GMG-RWT Document 94 Filed 11/29/12 Page 7 of 7 PageID #: 237
